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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.          )
_______________________________________)

                                                 ORDER

       In accordance with the Court’s oral rulings issued at the motion hearing held on April 16,

2019, it is hereby

        ORDERED that the Plaintiffs’ Combined Motion for Preliminary Injunction and Memo

in Support, ECF No. 5, is DENIED WITHOUT PREJUDICE. Specifically, the motion is

denied because the plaintiffs have not satisfied their burden of demonstrating that they have a

substantial likelihood of success on the merits of their claim and that they face irreparable harm

in the absence of an injunction. It is further

       ORDERED that the government shall file its answer to the plaintiffs’ Complaint on or

before April 25, 2019. It is further

       ORDERED that the parties shall appear before the Court on May 2, 2019, at 10:00 a.m.

to discuss how the parties wish to proceed in this case.

       SO ORDERED this 18th day of April, 2019.


                                                             REGGIE B. WALTON
                                                             United States District Judge
